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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

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IN RE: ORDER
TERRORIST ATTACKS ON 03 MDL 1570 (GBD) (SN)
SEPTEMBER 11, 2001

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This document relates to:

All actions
GEORGE B. DANIELS, United States District Judge:

This Court has reviewed the underlying submissions relating to the sealing of certain
documents. In light of the volume of challenged documents and their relatedness to the underlying
motions to dismiss, in consultation with Magistrate Judge Netburn, the sealing issue is withdrawn
from her jurisdiction.

This Court will conduct the conference scheduled for Wednesday, July 17, 2024 at
2:00 PM in Courtroom 11A in the Daniel Patrick Moynihan United States Courthouse, At that
conference, the Court will discuss with the parties the process and timing of a resolution of the
dispute over which documents should remain under seal. The Court will also canvas the parties
on how best to proceed with the July 31, 2024 oral argument.

Dated: July 15, 2024

New York, New York
SO ORDERED.

GEORGEB. DANIELS
United States District Judge

